  Case 3:19-cr-00094-REP Document 1 Filed 07/01/19 Page 1 of 1 PageID# 1



                                                                                                 lU [g
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                                     - I 2019
                                                                                                            y
                                       Richmond Division
                                                                                     [
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                          RICHMOND, VA

UNITED STATES OF AMERICA                             Criminal No. 3:I9cr®^^
       V.                                            26 U.S.C. § 7206(1)
                                                     Making and Subscribing a False Tax Return
GEORGE W.JOHNSON,IV,                                 (Count 1)

       Defendant.



                                 CRIMINAL INFORMATION


                                          COUNT ONE


THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about April 18,2016, in the Eastern District of Virginia, GEORGE W.JOHNSON,

rv,the defendant, did willfully make and subscribe a document, namely a 2015 U.S. Individual

Income Tax Return, Form 1040, which was verified by a written declaration that it was made

under the penalties of perjury and which he did not believe to be true and correct as to every

material matter. That document, which was filed with the IRS on or about April 18,2016,

reported total income of $42,062 on line 22, whereas, as GEORGE W.JOHNSON,IV then and

there well knew and believed, he had total income in the approximate amount of$290,860.

       (In violation of Title 26, United States Code, Section 7206(1)).



                                             G.ZACHARY TERWILLIGER
                                             UNITED STATES ATTORNEY




                                       By:
                                             Thomas A. Gamett
                                             Assistant United States Attorney
